                            Amended and Restated Bitcoin Services Agreement

      This Amended and Restated Bitcoin Services Agreement ("Agreement") is entered into as of
      August 14, 2013 by and among CLI Holdings Inc., with its principal place of business at 900
      WINSLOW WAY EAST, SUITE 100, BAINBRIDGE ISLAND, WA 98110 ("CLI Holdings"), CoinLab Inc.,
      with its principal place of business at 900 WINSLOW WAY EAST, SUITE 100, BAINBRIDGE ISLAND,
      WA 98110 ("CoinLab Inc."), and Alydian Inc. ("Alydian" and collectively with CLI Holdings,
      CoinLab Inc. and Vessenes, and each of their respective affiliates, "CoinLab"), and Dalsa Barbour
                                                              th
      LLC, with its principal place of business at 315 West 36 Street #18B New York, NY 10018
      ("Customer").


                                                   RECITALS

            Whereas, CoinLab Inc. and Customer are parties to that certain Bitcoin Services
      Agreement dated as of December 13, 2012 (the "First Services Agreement").

               Whereas, CLI Holdings and Customer are parties to that certain Bitcoin Services
      Agreement dated as of March 8, 2013 (the "Second Services Agreement" and together with the
      First Services Agreement, each a "Services Agreement" and together the "Services
      Agreements") .

             Whereas, Vessenes, or one or more of his affiliates, is an equity holder of CLI Holdings,
      CoinLab Inc., and Alydian, and will benefit from this Agreement and the Services Agreement.

                 Whereas, Customer anticipates acting as an agent for Crystal Island, LLC (together with
      its affiliates, including without limitation Cedar Hill Capital, Emil Woods and Chad Cascarilla
      "Crystallsland") by providing diligence services for Crystal Island in connection with a potential
      transaction between Crystal Island and CoinLab (the "Diligence Services").

               Whereas, in order to eliminate any and all potential conflicts of interest of Customer in
      its performance of the Diligence Services, the parties hereto desire to amend and restate each
      of the Services Agreements on the terms and conditions set forth herein, and for this Agreement
      to supersede each of the Services Agreements in its entirety, including without limitation by: (a)
      CoinLab releasing Customer from any confidentiality obligations imposed by the Services
      Agreements and (b) CoinLab agreeing to dedicate 100% of its mining output (other than mining
      output that is required to satisfy CoinLab's obligations to Crystal Island and mining output that is
      required to meet CoinLab's appropriate mining operating expenses and capital expenditures
      subject as approved by all parties) from the date of this Agreement to producing Bitcoin for
      Dalsa Barbour until such time as Dalsa Barbour receives 7,984.006735 Bitcoins from CoinLab
      pursuant to this Agreement.

               Whereas, CoinLab acknowledges that without the agreements set forth in the preceding
      Recital, a conflict of interest inherently arises between Crystal Island and Customer because
      Customer would be put in a position of advocating on behalf of CoinLab to enter into a financing




                                                       1




Case 13-19746-KAO         Doc 13-6        Filed 11/15/13                      Vessenes Decl.,
                                                                Ent. 11/15/13 16:41:58        Ex.11F, pg. 1
                                                                                       Pg. 1 of
      transaction with Crystal Island regardless of the outcome of the Diligence Services, and CoinLab
      and Customer acknowledge that such a conflict of interest must be prevented.

      NOW, THEREFORE, in consideration of the mutual promises made herein and other good and
      valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
      parties hereto, intending to be legally bound, hereby amend and restate each of the Services
      Agreements in its entirety and further agree as follows:

          1. Definitions.

                   a.   "Bitcoin" means the same-named, de-centralized, digital artifacts regulated by
                        peer-to-peer networks and earned through an exchange for especially valuable
                        numbers acquired through computing power and verified by nodes on the peer-
                        to-peer network.

                   b. "CoinLab Storage" means the online storage system developed and hosted by
                      or for CoinLab.

                   c.   "Confidential Information" means non-public information, technical data or
                        know-how of a party and/or its affiliates, which is furnished to the other party,
                        whether in tangible or intangible form, in connection with this Agreement that
                        would reasonably be deemed confidential in light of the nature of the
                        information or the circumstances of its disclosure. "Confidential Information"
                        includes the terms and conditions of this Agreement.

                   d. "Fees" has the definition set forth in Section 3.

                   e.   "Mined Bitcoins" means Bitcoins mined by CoinLab for Customer pursuant to
                        the terms and conditions of this Agreement.

                   f.   "Services" means the services that CoinLab provides to Customer under this
                        Agreement as further described in Section 2.

                   g.   "Term" means the period of time necessary for CoinLab to deliver all Bitcoins to
                        Customer under this Agreement.

                   h. "Wind Down Period" means the period of time extending 12 months after the
                      Term of the Agreement.

          2.   Services. CoinLab will use best efforts to mine 7,984.006735 Bitcoins on Customer's
               behalf, which, for the avoidance of doubt, will mean that Coin Lab shall dedicate 100% of
               its mining output (other than mining output that is required to satisfy CoinLab's
               obligations to Crystal Island and mining output that is required to meet CoinLab's
               appropriate mining operating expenses and capital expenditures subject as approved by
               all parties) from the date of this Agreement to producing Bitcoin for Dalsa Barbour until
               such time as Dalsa Barbour receives 7,984.006735 Bitcoins from CoinLab pursuant to
               this Agreement. On a weekly basis, CoinLab will promptly deliver to Customer the
               Bitcoins ordered as they are mined by Coin Lab. CoinLab will deliver to Customer a


                                                        2




Case 13-19746-KAO           Doc 13-6       Filed 11/15/13                      Vessenes Decl.,
                                                                 Ent. 11/15/13 16:41:58 Pg. 2 Ex.  F, pg. 2
                                                                                               of 11
              weekly account of Mined Bitcoins compared with Bitcoins delivered to Customer.
              Coin Lab will deliver to Customer Mined Bitcoins via the CoinLab Storage or other
              methods of delivery requested by Customer. Customer may retain Mined Bitcoins in the
              CoinLab Storage through the Wind Down Period. Customer may perform one or more
              audits, at CoinLab's expense, of CoinLab's Bitcoin output to confirm that Customer is
              receiving the mining output as agreed in section 2.

        3.    Fees. In exchange for performing the Services, Customer has paid CoinLab a total of
              $75,000.00 USD ("Fees"). Each party will bear its own taxes as levied under applicable
              law.

        4. Termination. Customer may suspend its performance or terminate this Agreement:

                  a.   If CoinLab materially breaches this Agreement and fails to cure that breach
                       within 30 days after receiving notice;

                  b.   Immediately upon notice if CoinLab is Insolvent. "Insolvent" means: (i)
                       becoming insolvent; (ii) admitting in writing the inability to pay debts as they
                       mature; making a general assignment for the benefit of creditors; (iii) suffering
                       or permitting the appointment of a trustee or receiver for all or any assets
                       (unless such appointment is vacated or dismissed within 60 days after
                       appointment); (iv) filing (or having filed) any petition as a debtor under any
                       provision of the federal Bankruptcy Code or any state law relating to insolvency,
                       unless such petition and all related proceedings are dismissed within 60 days of
                       such filing; being adjudicated insolvent or bankrupt; (v) having wound up or
                       liquidated; or (vi) ceasing to carryon business.

         5.   Effects of Termination or Expiration. Upon expiration or termination of the Agreement,
              sections that were, by their nature, intended to survive will so survive. Customer will
              collect all of its Mined Bitcoins from the CoinLab storage by the end of the Wind Down
              Period; if it fails to do so, all rights in and to such Mined Bitcoins will and does revert to
              CoinLab. In the event that the Agreement expires or terminates before all Mined
              Bitcoins ordered by Customer have been delivered to Customer, at Customer's option,
              CoinLab will promptly refund all Fees to Customer.


         6.   Confidentiality. CoinLab will not use Customer's Confidential Information except as
              reasonably required for the performance of this Agreement. Coin Lab will hold in
              confidence Customer's Confidential Information by means that are no less restrictive
              than those used for its own similar confidential materials and in no case less than
              reasonable care. CoinLab agrees not to disclose Customer's Confidential Information to
              anyone other than its employees or subcontractors who are bound by confidentiality
              obligations and who need to know the same to perform such party's obligations
              hereunder or who need to know the same for purposes of internal business
              administration such as the provision of legal or accounting services.

         7. Warranties. CoinLab warrants that the Services will be performed consistently with
            industry standards for Bitcoin mining or manufacture. Customer warrants that it will not


                                                        3




Case 13-19746-KAO         Doc 13-6        Filed 11/15/13                       Vessenes Decl.,
                                                                 Ent. 11/15/13 16:41:58        Ex.11F, pg. 3
                                                                                        Pg. 3 of
             exchange Bitcoins for any illegal material, illegal services, or contraband under any
             applicable laws. Customer also warrants that it will be responsible for all necessary
             government approvals and taxes with regard to the exchange of Bitcoins. Customer will
             indemnify, defend, and hold harmless CoinLab from any allegation, claim, or litigation
             proceeding (including all associated costs and attorneys' fees) arising from Customer's
             breach of this Section, and this indemnity obligation will survive termination or
             expiration of the Agreement.

        8.   CoinLab Representations. CoinLab represents and warrants that (a) all action required
             to be taken by CoinLab's respective directors, shareholders, managers and members in
             order to authorize CoinLab to enter into this Agreement has been taken, (b) Coin Lab is
             not in violation of any term of its organizational documents, or, to CoinLab's knowledge,
             in any material respect of any term or provision of any mortgage, indebtedness,
             indenture, contract, agreement, instrument, judgment, order or decree to which it is
             party or by which it is bound, (c) CoinLab is not in violation of any material federal or
             state statute, rule or regulation applicable to CoinLab, (d) the execution and delivery of
             this Agreement by Coin Lab and the performance by Coin Lab of its obligations pursuant
             to this Agreement will not violate, or conflict with, or constitute a default under, any
             contract, agreement, instrument, judgment, order or decree to which it is party or by
             which Coin Lab is bound, nor, to Coin Lab's knowledge, result in the creation of any
             material mortgage, pledge, lien, encumbrance or charge upon any of the properties or
             assets of CoinLab, and (e) CoinLab has made available to Customer all material
             information reasonably available to CoinLab and no information provided to Customer
             contains any untrue statement of a material fact or omits to state a material fact
             necessary in order to make the statements contained herein or therein not misleading
             in light of the circumstances under which they were made.

        9.   Indemnification. CoinLab hereby agrees to indemnify and hold harmless Customer and
             each member, partner, principal, manager, director, officer, advisor or employee
             thereof (each, an "Indemnified Party") from and against any and all loss, damage or
             liability due to or arising out of any inaccuracy or breach of any representation or
             warranty of CoinLab or failure of CoinLab to comply with any covenant or agreement set
             forth herein. CoinLab shall reimburse each Indemnified Party for its legal and other
             expenses (including the cost of any investigation and preparation) as they are incurred
             in connection with any such claim, action, proceeding or investigation. The
             reimbursement and indemnification obligations of the Investor under this Section shall
             survive the termination of this Agreement and shall be in addition to any liability which
             CoinLab may otherwise have, and shall be binding and inure to the benefit of any
             successors, assigns, heirs, estates, executors, administrators and personal
             representatives of each Indemnified Party.

         10. Disclaimer of Warranties. EXCEPT AS EXPRESSLY STATED IN THIS AGREEMENT, COINLAB
             DISCLAIMS ALL WARRANTIES, EXPRESS AND IMPLIED, INCLUDING, WITHOUT
             LIMITATION, IMPLIED WARRANTIES OF MERCHANTIBILITY AND FITNESS FOR A
             PARTICULAR PURPOSE. CUSTOMER UNDERSTANDS AND AGREES THAT THE SERVICES
             AND BITCOINS ARE THE RESULT OF RELATIVELY NEW TECHNOLOGIES AND MARKET
             EXCHANGES AND MAY BE SUBJECT TO FUTURE LAWS, REGULATIONS, CHANGES IN
             TECHNOLOGY, AND OTHER FORCES, NOT WITHIN COIN LAB'S CONTROL, AND THAT ANY


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Case 13-19746-KAO        Doc 13-6       Filed 11/15/13                      Vessenes Decl.,
                                                              Ent. 11/15/13 16:41:58        Ex.11F, pg. 4
                                                                                     Pg. 4 of
            SUCH CHANGES COULD RENDER THIS AGREEMENT IMPRACTICABLE OR IMPOSSIBLE TO
            PERFORM. COINLAB MAKES NO WARRANTIES REGARDING THE MONETARY VALUE OR
            FUTURE EXCHANGE RATES OF BITCOINS. COINLAB MAKES NO WARRANTIES
            REGARDING THE ABILITY OF PEER-TO-PEER NETWORKS OR OTHER TECHNOLOGIES TO
            ISSUE BITCOINS OR TO REGULATE, OR OTHERWISE MANAGE THE BITCOIN MARKET.
            EXCEPT AS EXPRESSLY STATED IN THIS AGREEMENT ALL ASSOCIATED RISKS RESIDE WITH
            CUSTOMER.

         11. Miscellaneous.

                a.   Assignment. This Agreement may not be assigned by either party without the
                     prior written approval of the other party. Any purported assignment in violation
                     of this Section will De void.

                b. Governing Law. This Agreement will be governed by and construed in
                   accordance with the laws of the State of New York applicable to contracts made
                   and to be performed entirely within such State. The parties hereto irrevocably
                   and unconditionally agree that any suit or proceeding arising out of or relating
                   to this Agreement and the transactions contemplated hereby will be tried
                   exclusively in the U.S. District Court for the Southern District of New York or, if
                   that court does not have subject matter jurisdiction, in any state court located
                   in The City and County of New York. The parties consent to personal and
                   subject matter jurisdiction in the State of New York.

                c.   Remedies Upon Breach. CoinLab agrees that any breach, or threatened breach,
                     of this Agreement by CoinLab could cause irreparable damage to Customer and
                     that in the event of such breach Customer shall have, in addition to any and all
                     remedies of law, the right to an injunction, specific performance or other
                     equitable relief to prevent the violation of any obligations under this
                     Agreement, without the necessity of proving irreparable damage or posting a
                     bond.

                d.   Force Majeure. Neither party will be deemed in default of this Agreement to
                     the extent that performance of its obligations or attempts to cure any breach
                     are delayed or prevented by reason of any act of God, fire, natural disaster,
                     accident, act of government, shortages of materials or supplies, internet
                     outages or other cause beyond the control of such party ("Force Majeure")
                     provided that such party makes best efforts to promptly notify the other. In the
                     event of such Force Majeure, the time for performance or cure will be extended
                     for a period equal to the duration of the Force Majeure.

                e.   Relationship of parties. The parties are independent contractors and have no
                     authority to act on behalf of or bind the other. This Agreement does not create
                     an employment, agency, or partnership relationship or grant a franchise.

                f.   Entire Agreement. This Agreement states the entire agreement between the
                     parties on the subject and supersedes all prior negotiations, understandings,
                     and agreements between the parties concerning the subject matter, including


                                                     5




Case 13-19746-KAO       Doc 13-6       Filed 11/15/13                      Vessenes Decl.,
                                                             Ent. 11/15/13 16:41:58        Ex.11F, pg. 5
                                                                                    Pg. 5 of
                   without limitation each of the Services Agreements. No amendment or
                   modification of this Agreement will be made except by a writing signed by both
                   parties. This Agreement is effective and survives regardless of whether a
                   transaction is consummated between Crystal Island and CoinLab.

              g.   Counterparts. This Agreement may be executed in two or more counterparts,
                   each of which will be deemed an original and all of which together will
                   constitute one instrument.

              h.   Recitals. The recitals hereof are hereby incorporated into this Agreement by
                   this reference.

                                    [SIGNATURE PAGE FOLLOWS]




                                                  6




Case 13-19746-KAO     Doc 13-6       Filed 11/15/13                      Vessenes Decl.,
                                                           Ent. 11/15/13 16:41:58        Ex.11F, pg. 6
                                                                                  Pg. 6 of
      IN WITNESS WHEREOF, the parties hereto have caused this Amended and Restated Bitcoin
      Services Agreement to be signed as of the date first above written.

      CUSTOMER

      Dalsa Barbour LLC




      By:
      Name: Daniel H. Galiancy
      Its: Member

      COINLAB INC.

      CoinLab Inc.

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      CLI HOLDINGS

      CLI Holdings Inc.

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Case 13-19746-KAO            Doc 13-6         Filed 11/15/13                 Vessenes Decl.,
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                                                                                      Pg. 7 of
                             ASSIGNMENT AND ASSUMPTION AGREEMENT

           This Assignment and Assumption Agreement {this "Agreement"} is made as of August
   14, 2013, between Daniel H. Gallancy {"Assignor"}, and Dalsa Barbour LLC, a New York
   limited liability company {"Assignee"}.
                                           Recitals

        A.     Assignor is a party to that certain Bitcoin Services Agreement, dated as of
   December 13,2012 between Assignor and CLI Holdings Inc. {the "Services Agreement"}.

            B.     Assignor desires to assign, and Assignor desires to assume, all of Assignor's
    rights and responsibilities pursuant to the Services Agreement.

          NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
   which is hereby acknowledged, the parties hereby agree as follows:

          1.       Assignor hereby sells, transfers, conveys, assigns and delivers to Assignee all of
    Assignor's privileges, right, title, interest and obligations under the Services Agreement.

            2.     Assignee hereby assumes all of the obligations of Assignor from and after the
    date of this Agreement under the Services Agreement.

            3.       Except as otherwise set forth in this Agreement, Assignee is not assuming any
    further liability or obligation of Assignor.

            4.      This Agreement will not affect Assignee's right to assert any defense with respect
    to the Services Agreement, at law, in equity or otherwise, against the validity or enforceability of
    any liability or obligation with respect to the Services Agreement.

            5.      This Agreement will be binding upon and inure to the benefit of the parties and
    their respective successors and assigns.

            6.      This Agreement may be executed in counterparts, each of which shall be deemed
    an original, but all of which together shall constitute one and the same agreement.

                                      [Signatures on following page]




Case 13-19746-KAO         Doc 13-6      Filed 11/15/13                     Vessenes Decl.,
                                                             Ent. 11/15/13 16:41:58        Ex.11F, pg. 8
                                                                                    Pg. 8 of
          IN WITNESS WHEREOF, the parties have caused this Assignment and Assumption
    Agreement to be duly executed as of the date first written above.

                                           ASSIGNOR:




                                           Daniel H. Gallancy


                                           ASSIGNEE:

                                           Dalsa Barbour LLC




                                                   By:
                                           Name: Daniel H. Gallancy
                                           Its: Member


    ACKNOWLEDGED AND AGREED:

    CoinLab Inc.


    BY: ~
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    Name:
    Its: a ()




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Case 13-19746-KAO     Doc 13-6      Filed 11/15/13                 Vessenes Decl.,
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                              ASSIGNMENT AND ASSUMPTION AGREEMENT

            This Assignment and Assumption Agreement (this "Agreement") is made as of August
    14, 2013, between Daniel H. Gallancy ("Assignor"), and Dalsa Barbour LLC, a New York
    limited liability company ("Assignee").
                                            Recitals

          A.     Assignor is a party to that certain Bitcoin Services Agreement, dated as of March
    8,2013 between Assignor and CoinLab Inc. (the "Services Agreement").

            B.     Assignor desires to assign, and Assignor desires to assume, all of Assignor's
    rights and responsibilities pursuant to the Services Agreement.

           NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
    which is hereby acknowledged, the parties hereby agree as follows:

          1.       Assignor hereby sells, transfers, conveys, assigns and delivers to Assignee all of
    Assignor's privileges, right, title, interest and obligations under the Services Agreement.

            2.     Assignee hereby assumes all of the obligations of Assignor from and after the
    date of this Agreement under the Services Agreement.

            3.       Except as otherwise set forth in this Agreement, Assignee is not assuming any
    further liability or obligation of Assignor.

            4.      This Agreement will not affect Assignee's right to assert any defense with respect
    to the Services Agreement, at law, in equity or otherwise, against the validity or enforceability of
    any liability or obligation with respect to the Services Agreement.

            5.      This Agreement will be binding upon and inure to the benefit of the parties and
    their respective successors and assigns.

            6.      This Agreement may be executed in counterparts, each of which shall be deemed
    an original, but all of which together shall constitute one and the same agreement.

                                      [Signatures on following page]




Case 13-19746-KAO        Doc 13-6       Filed 11/15/13      Ent. 11/15/13 Vessenes
                                                                          16:41:58 Decl.,
                                                                                    Pg. 10Ex.
                                                                                           of F,
                                                                                              11pg. 10
          IN WITNESS WHEREOF, the parties have caused this Assignment and Assumption
    Agreement to be duly executed as of the date first written above.

                                                      ASSIGNOR:




                                                      Daniel H. Gallancy


                                                      ASSIGNEE:

                                                      Dalsa Barbour LLC




                                                      By:
                                                      Name: Daniel H. Gallancy
                                                      Its: Member


    ACKNOWLEDGED AND AGREED:

    CLI Holdings Inc.


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Case 13-19746-KAO             Doc 13-6         Filed 11/15/13   Ent. 11/15/13 Vessenes
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                                                                                        Pg. 11Ex.
                                                                                               of F,
                                                                                                  11pg. 11
